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                     IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

 CONFECTIONERY ARTS
 INTERNATIONAL, LLC,
                 Plaintiff

                v.
                                          Civil Action No.: 3:17-cv-00108-AVC
 SUNFLOWER SUGAR ART USA,
 INC., ET AL,
              Defendants

                           NOTICE OF APPEARANCE

         Please enter my Appearance as counsel for Sunflower Sugar Art USA,

Inc. in the above-captioned matter.

Dated:         June 27, 2018            Respectfully Submitted,
                                        THE DEFENDANT,
                                        SUNFLOWER SUGAR ART USA, INC.,
                                        BY ITS ATTORNEY,

                                        /s/ N. Kane Bennett
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                                        Aeton Law Partners LLP
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                           CERTIFICATE OF SERVICE

       I hereby certify that a copy of foregoing was filed electronically and served
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sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the court’s CM/ECF
System.

                                          /s/ N. Kane Bennett
                                          N. Kane Bennett




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